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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

RICHARD M. DAUVAL, Trustee for
the Estate of TONY H. ULRICH and
TAMMY L. ULRICH,                                            Case No.: 8:16-cv-00393-SCB-JSS

       Plaintiff,
v.

SYNCHRONY BANK,
f/k/a GE CAPITAL RETAIL BANK,
a foreign for-profit corporation,

      Defendant.
___________________________________/

              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff, Richard M. Dauval (hereinafter, “Plaintiff”), Trustee for the

Estate of Tony H. Ulrich and Tammy L. Ulrich, and Defendant, SYNCHRONY BANK, f/k/a GE

CAPITAL RETAIL BANK (hereinafter, “Defendant”), by and through their respective

undersigned counsel pursuant to Federal Rules of Civil Procedure 41(a)(1)(i) and Middle District

of Florida, Local Rule 3.08, and hereby jointly stipulate and move the Court to dismiss all claims

asserted in this action, with prejudice, with each side to bear its own costs and attorneys’ fees

pursuant to the terms of a confidential settlement agreement.

Respectfully submitted,

LEAVENLAW                                           LIEBLER GONZALEZ & PORTUONDO

/s/ Sara J. Weiss                                   /s/ Marc T. Parrino
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 23, 2017, I filed a true and correct copy of the
above and foregoing Joint Stipulation for Dismissal with Prejudice via CM/ECF which will
electronically serve counsel of record:

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                                         /s/ Sara J. Weiss
                                         Attorney
